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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

OLIVER LUCK,                                       :   CASE NO. 3:20-cv-00516-VAB
                                                   :
                      Plaintiff,                   :
v.                                                 :
                                                   :
VINCENT K. MCMAHON and ALPHA                       :
ENTERTAINMENT LLC,                                 :
                                                   :
                      Defendants.                  :

                       DECLARATION OF JEFFREY P. MUELLER

       I, Jeffrey P. Mueller, hereby declare:

       1.     I am an attorney and partner at Day Pitney LLP and counsel for Defendants

Vincent McMahon (“McMahon”) and Alpha Entertainment LLC (“Alpha”) (collectively, the

“Defendants”) in the above-captioned action.

       2.     I submit this declaration to confirm compliance with this Court’s order dated

December 23, 2020 (the “Order”) (ECF No. 124).

       3.     Defendants retained a firm specializing in digital and mobile device forensics (the

“Designated Technology Professional”) to ensure preservation of the information on the Alpha-

owned iPhone (the “iPhone”) issued to Plaintiff Oliver Luck (“Luck”). I provided a copy of the

Order to the Designated Technology Professional.

       4.     On December 28, 2020, the Designated Technology Professional traveled to the

offices of Alpha’s bankruptcy counsel in Wilmington, Delaware where the iPhone was stored,

personally took custody of the iPhone from Alpha’s bankruptcy counsel, and brought the iPhone

to the Designated Technology Professional’s lab in Washington, D.C. for the purpose of

preserving the information on the iPhone.
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       5.      On December 29, 2020, the Designated Technology Professional made forensic

images of the iPhone and its SIM card using standard forensic tools and processes in order to

preserve the information on the iPhone.

       6.      The Designated Technology Professional is currently maintaining the iPhone in a

locked container in its Washington, D.C. lab, a secure facility.

       7.      The Designated Technology Professional has not shared the information on the

iPhone with any other persons, including Defendants’ counsel, or otherwise altered the

information preserved on the iPhone.

       I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct to the best of my knowledge and belief.

       Dated this 8th day of January, 2021




                                                             Jeffrey P. Mueller




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